               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                                5:06cr41-V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )                          ORDER
                                )
MANUEL FIGUEROA                 )
_______________________________ )

      THIS MATTER is before the Court on Defendant’s Motion For Interim CJA Payment

on the above-captioned matter.

      The Court finds that the Defendant’s request for interim payment is appropriate.

      IT IS, THEREFORE, ORDERED that Defendant’s motion for interim payment is

hereby GRANTED.



                                          Signed: November 29, 2006




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